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Jeff Johnson (00:17):
What's up?

James Garretson (00:17):
They didn't go. I thought they were going to go when he called, but he didn't go. He said he's going to try
to make it next couple of days.

Jeff Johnson (00:23):
Who was it?

James Garretson (00:24):
A friend of mine that I've been seeing. He's going to go follow this thing, and he didn't go. He said he's
going to try to go the end of the week.

Jeff Johnson (00:34):
Yeah. All I saw was on the news. Two of the news channels did a short interview with Eric.

James Garretson (00:45):
Cowie?

Jeff Johnson (00:45):
Huh?

James Garretson (00:45):
Erik Cowie?

Jeff Johnson (00:46):
Yeah.

James Garretson (00:46):
How did that go?

Jeff Johnson (00:51):
"Well, I heard the gunshots, and I knew he was doing it, but who was I going to tell."

James Garretson (01:00):
And, that's what he said?

Jeff Johnson (01:01):
Yeah.

Jeff Johnson (01:02):



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Well, gee, I don't know the federal government, the USDA, any one of the million people. And, then he
said, "Well, I've heard Joe say a lot of the times that if you had a tiger, it was no different than having a
dog or a cat. It was your property, and you could pretty much do it that whatever you wanted."

James Garretson (01:23):
He said that?

Jeff Johnson (01:24):
Yeah.

Jeff Johnson (01:27):
He's trying to get me to believe that he didn't know it was illegal to kill a tiger. What a lying fuck.

James Garretson (01:34):
He ought to be in jail too.

Jeff Johnson (01:35):
Exactly. That's how I'm going to handle a witness. Every time I mention a witness-

James Garretson (01:40):
They didn't show anything in the courtroom?

Jeff Johnson (01:43):
No. It was Erik. Wearing what appeared to be a thermal shirt. Apparently he dressed well to go to court.

James Garretson (01:54):
He's probably drunk.

Jeff Johnson (01:56):
And, hasn't got a tooth in his fucking head. But that's how I'm going to handle this on my page. Every
time they mention a witness, depending on what the witness says or what I'm being told the witness
said, or I can read the testimony, I'm going to just put a very short thing on my page. Erik's was basically,
I heard it. I saw it. I knew it was happening, but I didn't tell anybody. And, then I'm putting his name, Erik
Cowie, and in all capital letters guilty.

James Garretson (02:28):
Yeah. [crosstalk 00:02:29].

Jeff Johnson (02:29):
That's what I'm going to put.

James Garretson (02:31):
What's that going to do?


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Jeff Johnson (02:32):
Just getting my point out there that all these mother fuckers are just as guilty as Joe.

James Garretson (02:37):
Yeah, but I don't know.

Jeff Johnson (02:40):
Anybody that saw it, anybody that witnessed it, anybody like him that says they didn't know it was
illegal. Anybody like him that says, "Who was I supposed to call?" You're guilty.

James Garretson (02:52):
I wonder how bad the testimony was today. How the odds were stacked against them?

Jeff Johnson (03:00):
I don't know. I know reading that deposition from that Ashley chick, Joe's attorneys just ripped her a
new asshole. She's going, "Well, I'm dyslexic, so I don't really remember dates. Well, I have seizures, so I
really can't remember this."

James Garretson (03:19):
Really?

Jeff Johnson (03:20):
Yeah. She's got an excuse for everything.

James Garretson (03:22):
Why is Jeff Lowe's fucking running his fucking beat. Did she start crucifying Jeff Lowe in there?

Jeff Johnson (03:31):
Yeah. [crosstalk 00:03:32]. He talked about killing Carole Baskin too.

James Garretson (03:35):
Yeah.

Jeff Johnson (03:38):
And, how Justin Hix, he's already written a very nice letter and sent to all the attorneys and all the
federal government involved in this case.

James Garretson (03:50):
Like what?

Jeff Johnson (03:50):
I just have to send it to you. It's basically, everything that Jeff Lowe posted about that deposition online.
That's illegal.


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James Garretson (04:00):
Really?

Jeff Johnson (04:01):
Yeah. That wasn't supposed to be... Well, especially Jeff Lowe shouldn't be putting it out there.

James Garretson (04:07):
Jeff Lowe shouldn't' be talking in general to anybody.

Jeff Johnson (04:13):
Nope. I'm just [inaudible 00:04:15]. I'm going to watch the news just like everybody else. I'm going to
make my opinions and whether he's guilty or innocent or whatever the fuck happens at that point, I shut
my page down. I won't ever talk to any of these people again, and I'm going to start living my own life.

James Garretson (04:25):
Nice, motherfucker. I'm just [inaudible 00:04:29] you. Just blow us all off. Why don't you, dickhead?

Jeff Johnson (04:32):
I'm going to.

James Garretson (04:33):
All right, dickhead.

Jeff Johnson (04:37):
I'll keep in touch with a handful of people.

James Garretson (04:39):
Go take care of you kids. All right, bye.

Jeff Johnson (04:41):
Bye.




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